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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                           MEMORANDUM
                         -against-
                                                                           25 Cr. 149 (NSR)
JOHN R. LORD,

                                   Defendant.
-------------------------------------------------------------X

TO:     NELSON S. ROMÁN, UNITED STATES DISTRICT JUDGE

        Please find attached a transcript of the April 3, 2025, plea allocution over which I

presided, setting forth my Report and Recommendation to you. Please let me know if I can be

of further assistance.


Dated: May 13, 2025
       White Plains, New York
                                                             Respectfully submitted,

                                                             ___________________________________
                                                             ANDREW E. KRAUSE
                                                             United States Magistrate Judge
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May 13, 2025

       This transcript represents my Report and Recommendation to the Honorable Nelson

S. Román, United States District Judge.


                                                 SO ORDERED.



                                                 ANDREW E. KRAUSE
                                                 United States Magistrate Judge
